                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

 SOPHIA WILANSKY,

                               Plaintiff,             MOTION TO DISMISS AMENDED
                                                             COMPLAINT
        vs.

 PAUL D. BAKKE, in his personal capacity;                    Case No. 3:23-cv-00142
 THOMAS M. GROSZ, in his personal
 capacity; MATTHEW J. HANSON, in his
 personal capacity; MICHAEL W.
 HINRICHS, in his personal capacity;
 TRAVIS A. NELSON, in his personal
 capacity; JOSHUA W. RODE, in his personal
 capacity; EVAN M. SAVAGEAU, in his
 personal capacity; TRAVIS M. SKAR, in his
 personal capacity; GLEN G. TERNES, in his
 personal capacity; JUSTIN W. WHITE, in his
 personal capacity; DEREK J. ARNDT, in his
 personal capacity; KYLE KIRCHMEIER, in
 his official capacity; and MORTON
 COUNTY, NORTH DAKOTA,

                               Defendants.


       State Defendants Paul Bakke, Michael Hinrichs, Travis Nelson, Joshua Rode, Evan

Savageau, Travis Skar, and Derek Arndt, move this Court under Fed. R. Civ. P. 12(b)(6) for an

order dismissing Plaintiff’s claims against them as set forth in Plaintiff’s Amended Complaint.

This motion is made to assist the Court in securing “the just, speedy, and inexpensive

determination” of this action. Fed. R. Civ. P. 1. This motion is supported by the attached

memorandum and all documents on file with this Court, and is made on the grounds that the

Complaint fails to state claims against the State Defendant and is barred by qualified immunity, as

more fully set forth in the attached memorandum. State Defendants respectfully ask that this Court

grant this motion and dismiss all claims against them.
Dated this 30th day of October, 2023.
                                        State of North Dakota
                                        Drew H. Wrigley
                                        Attorney General


                                        By:     /s/ Jane G. Sportiello
                                               Jane G. Sportiello
                                               Assistant Attorney General
                                               State Bar ID No. 08900
                                               Office of Attorney General
                                               500 North 9th Street
                                               Bismarck, ND 58501-4509
                                               Telephone (701) 328-3640
                                               Email jsportiello@nd.gov

                                         Attorneys for State Defendants




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